                  Case 15-60690                     Doc 1           Filed 10/21/15 Entered 10/21/15 15:36:39                                                 Desc Main
B1 (Official Form 1) (04/13)
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                                                   United States Bankruptcy Court
                                                   EASTERN DISTRICT OF TEXAS                                                                                     Voluntary Petition
                                                          TYLER DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Witt, Richard L                                                                                      Witt, Caroline R

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more
than one, state all):     xxx-xx-4632                                                                than one, state all):     xxx-xx-1256
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
325 PR 6602                                                                                          325 PR 6602
Mineola, TX                                                                                          Mineola, TX
                                                                          ZIP CODE                                                                                         ZIP CODE
                                                                            75773                                                                                           75773
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
Wood                                                                                                 Wood
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):
325 PR 6602                                                                                          325 PR 6602
Mineola, TX                                                                                          Mineola, TX
                                                                          ZIP CODE                                                                                         ZIP CODE
                                                                            75773                                                                                           75773
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                           ZIP CODE


                         Type of Debtor                                         Nature of Business                                    Chapter of Bankruptcy Code Under Which
                      (Form of Organization)                                      (Check one box.)                                       the Petition is Filed (Check one box.)
                         (Check one box.)                                      Health Care Business                               Chapter 7
        Individual (includes Joint Debtors)                                    Single Asset Real Estate as defined                Chapter 9                 Chapter 15 Petition for Recognition
        See Exhibit D on page 2 of this form.                                  in 11 U.S.C. § 101(51B)                                                      of a Foreign Main Proceeding
                                                                                                                                  Chapter 11
        Corporation (includes LLC and LLP)                                     Railroad
                                                                                                                                  Chapter 12                Chapter 15 Petition for Recognition
                                                                               Stockbroker                                                                  of a Foreign Nonmain Proceeding
        Partnership                                                                                                               Chapter 13
                                                                               Commodity Broker
        Other (If debtor is not one of the above entities, check
        this box and state type of entity below.)                              Clearing Bank                                                         Nature of Debts
                                                                               Other                                                                 (Check one box.)
                        Chapter 15 Debtors                                          Tax-Exempt Entity                             Debts are primarily consumer             Debts are primarily
Country of debtor's center of main interests:                                     (Check box, if applicable.)                     debts, defined in 11 U.S.C.              business debts.
                                                                               Debtor is a tax-exempt organization                § 101(8) as "incurred by an
Each country in which a foreign proceeding by, regarding, or                   under title 26 of the United States                individual primarily for a
against debtor is pending:                                                     Code (the Internal Revenue Code).                  personal, family, or house-
                                                                                                                                  hold purpose."
                              Filing Fee (Check one box.)                                            Check one box:                     Chapter 11 Debtors
                                                                                                             Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
        Full Filing Fee attached.
                                                                                                             Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach          Check if:
        signed application for the court's consideration certifying that the debtor is                       Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                        insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                             on 4/01/16 and every three years thereafter).
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 Check all applicable boxes:
        attach signed application for the court's consideration. See Official Form 3B.                       A plan is being filed with this petition.
                                                                                                             Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                             of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49        50-99        100-199        200-999         1,000-           5,001-           10,001-              25,001-           50,001-         Over
                                                         5,000            10,000           25,000               50,000            100,000         100,000
 Estimated Assets

 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
 Estimated Liabilities

 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
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                 Case 15-60690                    Doc 1           Filed 10/21/15 Entered 10/21/15 15:36:39                                         Desc Main
B1 (Official Form 1) (04/13)
                                                                    Document Page 2 of 47                                                                                        Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    Richard L Witt
                                                                                                                  Caroline R Witt
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 None
Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:


District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
        Exhibit A is attached and made a part of this petition.                             such chapter. I further certify that I have delivered to the debtor the notice
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X     /s/ Bradley S. Campbell                                           10/21/2015
                                                                                                 Bradley S. Campbell                                                   Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
        Yes, and Exhibit C is attached and made a part of this petition.
        No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
          Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:
              Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.

                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)
        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.

        There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

        Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
        Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)
        Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

        Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

        Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                Case 15-60690                     Doc 1           Filed 10/21/15 Entered 10/21/15 15:36:39                                            Desc Main
B1 (Official Form 1) (04/13)
                                                                    Document Page 3 of 47                                                                                          Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     Richard L Witt
                                                                                                                    Caroline R Witt
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the                     I request relief in accordance with chapter 15 of title 11, United States Code.
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).                   Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,                Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
 specified in this petition.                                                                     title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X     /s/ Richard L Witt
      Richard L Witt
                                                                                             X
       /s/ Caroline R Witt                                                                       (Signature of Foreign Representative)
 X    Caroline R Witt

                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     10/21/2015
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X     /s/ Bradley S. Campbell                                                               defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Bradley S. Campbell                              Bar No. 03694040                      have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Campbell Law Firm, PC
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 228 West Broad Street                                                                       given the debtor notice of the maximum amount before preparing any document
 Mineola, TX 75773                                                                           for filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                             section. Official Form 19 is attached.


          (903) 569-0000
 Phone No.______________________        (903) 569-1122
                                 Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     10/21/2015
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


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                                                  Document Page 4 of 47
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                                EASTERN DISTRICT OF TEXAS
                                                     TYLER DIVISION
In re:   Richard L Witt                                                                  Case No.
         Caroline R Witt                                                                                      (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
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B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                                EASTERN DISTRICT OF TEXAS
                                                     TYLER DIVISION
In re:   Richard L Witt                                                               Case No.
         Caroline R Witt                                                                                   (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


              Active military duty in a military combat zone.

    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor:    /s/ Richard L Witt
                       Richard L Witt

Date:       10/21/2015
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B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                                EASTERN DISTRICT OF TEXAS
                                                     TYLER DIVISION
In re:   Richard L Witt                                                                  Case No.
         Caroline R Witt                                                                                      (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
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B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                                EASTERN DISTRICT OF TEXAS
                                                     TYLER DIVISION
In re:   Richard L Witt                                                               Case No.
         Caroline R Witt                                                                                   (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


              Active military duty in a military combat zone.

    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor:    /s/ Caroline R Witt
                       Caroline R Witt

Date:       10/21/2015
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B6A (Official Form 6A) (12/07)



In re Richard L Witt                                                          Case No.
      Caroline R Witt                                                                                               (if known)



                                         SCHEDULE A - REAL PROPERTY


                                                                                                                 Current Value




                                                                                       Husband, Wife, Joint,
                                                                                                                  of Debtor's
                   Description and                           Nature of Debtor's




                                                                                         or Community
                                                                                                                   Interest in
                     Location of                            Interest in Property
                                                                                                               Property, Without    Amount Of
                      Property                                                                                                     Secured Claim
                                                                                                                Deducting Any
                                                                                                                Secured Claim
                                                                                                                 or Exemption


 325 PR 6602, Mineola, Texas 75773                     Fee Simple                         C                        $200,000.00        $86,478.00
 Lot 5, 16, 17, 18, Block B Sumdowner, Wood
 County, Texas




                                                                                   Total:                          $200,000.00
                                                                                   (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)




In re Richard L Witt                                                                         Case No.
      Caroline R Witt                                                                                     (if known)



                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                               Husband, Wife, Joint,
                                                                                                                                       Current Value of
                                                                                                                                       Debtor's Interest




                                                                                                                 or Community
                                                                                                                                          in Property,

             Type of Property               None                   Description and Location of Property
                                                                                                                                       Without Deducting
                                                                                                                                         any Secured
                                                                                                                                            Claim or
                                                                                                                                           Exemption

1. Cash on hand.                            X

2. Checking, savings or other finan-               checking account                                                  C                          $75.00
cial accounts, certificates of deposit
or shares in banks, savings and loan,              Paypal account                                                    C                         $275.00
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-      X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,                4 televisions                                                     C                       $1,200.00
including audio, video and computer
equipment.                                         entertainment center                                              C                         $600.00

                                                   DVD player                                                        C                          $80.00

                                                   CD player                                                         C                          $30.00

                                                   5 end tables                                                      C                         $350.00

                                                   5 lamps                                                           C                         $290.00

                                                   musical instrument                                                C                         $500.00

                                                   computer equipment                                                C                         $550.00

                                                   dinner table                                                      C                         $100.00

                                                   10 dining chairs                                                  C                         $100.00

                                                   stove/oven                                                        C                         $440.00

                                                   dishwasher                                                        C                         $450.00

                                                   microwave                                                         C                         $250.00
              Case 15-60690               Doc 1        Filed 10/21/15 Entered 10/21/15 15:36:39                Desc Main
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B6B (Official Form 6B) (12/07) -- Cont.




In re Richard L Witt                                                                           Case No.
      Caroline R Witt                                                                                       (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                                Continuation Sheet No. 1




                                                                                                                 Husband, Wife, Joint,
                                                                                                                                         Current Value of
                                                                                                                                         Debtor's Interest




                                                                                                                   or Community
                                                                                                                                            in Property,

             Type of Property                None                    Description and Location of Property
                                                                                                                                         Without Deducting
                                                                                                                                           any Secured
                                                                                                                                              Claim or
                                                                                                                                             Exemption


                                                    refrigerator                                                       C                       $1,100.00

                                                    freezer                                                            C                         $550.00

                                                    4 armoires                                                         C                         $950.00

                                                    4 nightstands                                                      C                         $500.00

                                                    1 mirror                                                           C                         $300.00

                                                    3 beds                                                             C                         $360.00



5. Books; pictures and other art                    30 books                                                           C                         $100.00
objects; antiques; stamp, coin,
record, tape, compact disc, and other               7 art pieces                                                       C                         $150.00
collections or collectibles.
                                                    2 antiques (cabinet and chair)                                     C                       $1,000.00

                                                    10 pottery figurines                                               C                          $80.00

                                                    50 movies                                                          C                         $100.00

                                                    40 music disks                                                     C                          $50.00


6. Wearing apparel.                                 clothing                                                           C                         $500.00

                                                    shoes                                                              C                         $250.00


7. Furs and jewelry.                                1 wedding ring                                                     C                         $600.00


8. Firearms and sports, photo-               X
graphic, and other hobby equipment.
              Case 15-60690               Doc 1       Filed 10/21/15 Entered 10/21/15 15:36:39              Desc Main
                                                       Document Page 11 of 47
B6B (Official Form 6B) (12/07) -- Cont.




In re Richard L Witt                                                                        Case No.
      Caroline R Witt                                                                                    (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                              Continuation Sheet No. 2




                                                                                                              Husband, Wife, Joint,
                                                                                                                                      Current Value of
                                                                                                                                      Debtor's Interest




                                                                                                                or Community
                                                                                                                                         in Property,

             Type of Property                None                 Description and Location of Property
                                                                                                                                      Without Deducting
                                                                                                                                        any Secured
                                                                                                                                           Claim or
                                                                                                                                          Exemption


9. Interests in insurance policies.          X
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name              X
each issuer.

11. Interests in an education IRA as         X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,          X
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-          X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint              100% interest in Tatanka Traditions                             C                         $100.00
ventures. Itemize.

15. Government and corporate bonds           X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                     X

17. Alimony, maintenance, support,           X
and property settlements to which the
debtor is or may be entitled. Give
particulars.
              Case 15-60690               Doc 1        Filed 10/21/15 Entered 10/21/15 15:36:39               Desc Main
                                                        Document Page 12 of 47
B6B (Official Form 6B) (12/07) -- Cont.




In re Richard L Witt                                                                          Case No.
      Caroline R Witt                                                                                      (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                              Continuation Sheet No. 3




                                                                                                                Husband, Wife, Joint,
                                                                                                                                        Current Value of
                                                                                                                                        Debtor's Interest




                                                                                                                  or Community
                                                                                                                                           in Property,

             Type of Property                None                   Description and Location of Property
                                                                                                                                        Without Deducting
                                                                                                                                          any Secured
                                                                                                                                             Claim or
                                                                                                                                            Exemption


18. Other liquidated debts owed to           X
debtor including tax refunds. Give
particulars.

19. Equitable or future interests, life      X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent             X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-            X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other           X
intellectual property. Give
particulars.

23. Licenses, franchises, and other          X
general intangibles. Give particulars.

24. Customer lists or other compilations            customer list                                                     C                       $5,000.00
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.
              Case 15-60690               Doc 1        Filed 10/21/15 Entered 10/21/15 15:36:39                         Desc Main
                                                        Document Page 13 of 47
B6B (Official Form 6B) (12/07) -- Cont.




In re Richard L Witt                                                                          Case No.
      Caroline R Witt                                                                                                (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                                Continuation Sheet No. 4




                                                                                                                          Husband, Wife, Joint,
                                                                                                                                                  Current Value of
                                                                                                                                                  Debtor's Interest




                                                                                                                            or Community
                                                                                                                                                     in Property,

             Type of Property                 None                  Description and Location of Property
                                                                                                                                                  Without Deducting
                                                                                                                                                    any Secured
                                                                                                                                                       Claim or
                                                                                                                                                      Exemption


25. Automobiles, trucks, trailers,                   2015 Mitsubishi Outlander                                                  C                      $23,341.00
and other vehicles and accessories.

26. Boats, motors, and accessories.           X

27. Aircraft and accessories.                 X

28. Office equipment, furnishings,                   office furniture and equipment                                             C                         $400.00
and supplies.

29. Machinery, fixtures, equipment,                  mchinery & equipment                                                       C                       $1,000.00
and supplies used in business.
                                                     supplies                                                                   C                       $1,000.00


30. Inventory.                                X

31. Animals.                                  X

32. Crops - growing or harvested.             X
Give particulars.

33. Farming equipment and                     X
implements.

34. Farm supplies, chemicals, and             X
feed.

35. Other personal property of any            X
kind not already listed. Itemize.




                                                                          4           continuation sheets attached   Total >                           $42,721.00
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
                Case 15-60690           Doc 1        Filed 10/21/15 Entered 10/21/15 15:36:39                           Desc Main
                                                      Document Page 14 of 47
B6C (Official Form 6C) (4/13)



In re Richard L Witt                                                                           Case No.
      Caroline R Witt                                                                                               (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:                    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $155,675.*
      11 U.S.C. § 522(b)(2)
      11 U.S.C. § 522(b)(3)




                                                                                                                                      Current
                                                                                                                                 Value of Property
                                                              Specify Law Providing Each                Value of Claimed
                Description of Property                                                                                          Without Deducting
                                                                       Exemption                           Exemption
                                                                                                                                     Exemption



 325 PR 6602, Mineola, Texas 75773                       Const. art. 16 §§ 50, 51, Texas Prop.                $113,522.00             $200,000.00
 Lot 5, 16, 17, 18, Block B Sumdowner, Wood              Code §§ 41.001-.002
 County, Texas

 4 televisions                                           Tex. Prop. Code §§ 42.001(a), 42.002                   $1,200.00               $1,200.00
                                                         (a)(1)

 entertainment center                                    Tex. Prop. Code §§ 42.001(a), 42.002                     $600.00                 $600.00
                                                         (a)(1)

 DVD player                                              Tex. Prop. Code §§ 42.001(a), 42.002                       $80.00                  $80.00
                                                         (a)(1)

 CD player                                               Tex. Prop. Code §§ 42.001(a), 42.002                       $30.00                  $30.00
                                                         (a)(1)

 5 end tables                                            Tex. Prop. Code §§ 42.001(a), 42.002                     $350.00                 $350.00
                                                         (a)(1)

 5 lamps                                                 Tex. Prop. Code §§ 42.001(a), 42.002                     $290.00                 $290.00
                                                         (a)(1)

 musical instrument                                      Tex. Prop. Code §§ 42.001(a), 42.002                     $500.00                 $500.00
                                                         (a)(1)

 computer equipment                                      Tex. Prop. Code §§ 42.001(a), 42.002                     $550.00                 $550.00
                                                         (a)(1)

 dinner table                                            Tex. Prop. Code §§ 42.001(a), 42.002                     $100.00                 $100.00
                                                         (a)(1)

* Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases
commenced on or after the date of adjustment.
                                                                                                              $117,222.00             $203,700.00
                Case 15-60690             Doc 1   Filed 10/21/15 Entered 10/21/15 15:36:39               Desc Main
                                                   Document Page 15 of 47
B6C (Official Form 6C) (4/13) -- Cont.



In re Richard L Witt                                                                 Case No.
      Caroline R Witt                                                                                 (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                       Continuation Sheet No. 1



                                                                                                                        Current
                                                                                                                   Value of Property
                                                        Specify Law Providing Each          Value of Claimed       Without Deducting
                Description of Property
                                                                 Exemption                     Exemption               Exemption



 10 dining chairs                                   Tex. Prop. Code §§ 42.001(a), 42.002             $100.00                $100.00
                                                    (a)(1)

 stove/oven                                         Tex. Prop. Code §§ 42.001(a), 42.002             $440.00                $440.00
                                                    (a)(1)

 dishwasher                                         Tex. Prop. Code §§ 42.001(a), 42.002             $450.00                $450.00
                                                    (a)(1)

 microwave                                          Tex. Prop. Code §§ 42.001(a), 42.002             $250.00                $250.00
                                                    (a)(1)

 refrigerator                                       Tex. Prop. Code §§ 42.001(a), 42.002           $1,100.00              $1,100.00
                                                    (a)(1)

 freezer                                            Tex. Prop. Code §§ 42.001(a), 42.002             $550.00                $550.00
                                                    (a)(1)

 4 armoires                                         Tex. Prop. Code §§ 42.001(a), 42.002             $950.00                $950.00
                                                    (a)(1)

 4 nightstands                                      Tex. Prop. Code §§ 42.001(a), 42.002             $500.00                $500.00
                                                    (a)(1)

 1 mirror                                           Tex. Prop. Code §§ 42.001(a), 42.002             $300.00                $300.00
                                                    (a)(1)

 3 beds                                             Tex. Prop. Code §§ 42.001(a), 42.002             $360.00                $360.00
                                                    (a)(1)

 30 books                                           Tex. Prop. Code §§ 42.001(a), 42.002             $100.00                $100.00
                                                    (a)(1)

 7 art pieces                                       Tex. Prop. Code §§ 42.001(a), 42.002             $150.00                $150.00
                                                    (a)(1)

 2 antiques (cabinet and chair)                     Tex. Prop. Code §§ 42.001(a), 42.002           $1,000.00              $1,000.00
                                                    (a)(1)

                                                                                                 $123,472.00            $209,950.00
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                                                   Document Page 16 of 47
B6C (Official Form 6C) (4/13) -- Cont.



In re Richard L Witt                                                                 Case No.
      Caroline R Witt                                                                                 (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                       Continuation Sheet No. 2



                                                                                                                        Current
                                                                                                                   Value of Property
                                                        Specify Law Providing Each          Value of Claimed       Without Deducting
              Description of Property
                                                                 Exemption                     Exemption               Exemption



 10 pottery figurines                               Tex. Prop. Code §§ 42.001(a), 42.002              $80.00                 $80.00
                                                    (a)(1)

 50 movies                                          Tex. Prop. Code §§ 42.001(a), 42.002             $100.00                $100.00
                                                    (a)(1)

 40 music disks                                     Tex. Prop. Code §§ 42.001(a), 42.002              $50.00                 $50.00
                                                    (a)(1)

 clothing                                           Tex. Prop. Code §§ 42.001(a), 42.002             $500.00                $500.00
                                                    (a)(5)

 shoes                                              Tex. Prop. Code §§ 42.001(a), 42.002             $250.00                $250.00
                                                    (a)(5)

 1 wedding ring                                     Tex. Prop. Code §§ 42.001(a), 42.002             $600.00                $600.00
                                                    (a)(6)

 2015 Mitsubishi Outlander                          Tex. Prop. Code §§ 42.001(a), 42.002               $0.00             $23,341.00
                                                    (a)(9)

 office furniture and equipment                     Tex. Prop. Code §§ 42.001(a), 42.002             $400.00                $400.00
                                                    (a)(4)

 mchinery & equipment                               Tex. Prop. Code §§ 42.001(a), 42.002           $1,000.00              $1,000.00
                                                    (a)(4)

 supplies                                           Tex. Prop. Code §§ 42.001(a), 42.002           $1,000.00              $1,000.00
                                                    (a)(4)




                                                                                                 $127,452.00            $237,271.00
            Case 15-60690            Doc 1                  Filed 10/21/15 Entered 10/21/15 15:36:39                                                   Desc Main
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B6D (Official Form 6D) (12/07)
          In re Richard L Witt                                                                                           Case No.
                 Caroline R Witt                                                                                                                      (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                              Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                                   DATE CLAIM WAS                                    AMOUNT OF         UNSECURED




                                                                                                                                  UNLIQUIDATED
           MAILING ADDRESS                                                                   INCURRED, NATURE                                      CLAIM           PORTION, IF




                                                                                                                                   CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                                    DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                      WITHOUT             ANY
         AN ACCOUNT NUMBER                                                                    DESCRIPTION AND                                    DEDUCTING
         (See Instructions Above.)                                                                VALUE OF                                        VALUE OF
                                                                                             PROPERTY SUBJECT                                    COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:    05/25/2006
ACCT #: 3847700407507                                                             NATURE OF LIEN:
                                                                                  Real Estate Junior Liens
CAP ONE NA                                                                        COLLATERAL:
                                                                                  325 PR 6602 ,Mineola, Texas 75773                                 $86,478.00
3905 N DALLAS PKWY                                            C                   REMARKS:
PLANO, TX 75093                                                                   Lot 5, 16, 17, 18, Block B Sumdowner,
                                                                                  Wood County, Texas


                                                                                  VALUE:                           $200,000.00
                                                                                  DATE INCURRED:    Various
ACCT #: 3847700407507                                                             NATURE OF LIEN:
                                                                                  Mortgage arrears
CAP ONE NA                                                                        COLLATERAL:
                                                                                  325 PR 6602 ,Mineola, Texas 75773                                  $2,500.00
3905 N DALLAS PKWY                                            C                   REMARKS:
PLANO, TX 75093                                                                   Lot 5, 16, 17, 18, Block B Sumdowner,
                                                                                  Wood County, Texas


                                                                                  VALUE:                             $2,500.00
                                                                                  DATE INCURRED:    11/03/2014
ACCT #: 514206668                                                                 NATURE OF LIEN:
                                                                                  Automobile
US BANK                                                                           COLLATERAL:
                                                                                  2015 Mitsubishi Outlander                                         $23,341.00
PO BOX 5227                                                   C                   REMARKS:
CINCINNATI, OH 45201



                                                                                  VALUE:                            $23,341.00




                                                                                                         Subtotal (Total of this Page) >            $112,319.00               $0.00
                                                                                                        Total (Use only on last page) >             $112,319.00                $0.00
________________continuation
       No                    sheets attached                                                                                                     (Report also on   (If applicable,
                                                                                                                                                 Summary of        report also on
                                                                                                                                                 Schedules.)       Statistical
                                                                                                                                                                   Summary of
                                                                                                                                                                   Certain Liabilities
                                                                                                                                                                   and Related
                                                                                                                                                                   Data.)
              Case 15-60690              Doc 1        Filed 10/21/15 Entered 10/21/15 15:36:39                                Desc Main
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B6E (Official Form 6E) (04/13)

In re Richard L Witt                                                                              Case No.
      Caroline R Witt                                                                                                       (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


    Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals
    Claims of individuals up to $2,775* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


    Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       2                     sheets attached
              Case 15-60690              Doc 1                                   Filed 10/21/15 Entered 10/21/15 15:36:39                           Desc Main
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B6E (Official Form 6E) (04/13) - Cont.
In re Richard L Witt                                                                                                      Case No.
      Caroline R Witt                                                                                                                             (If Known)


                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                    TYPE OF PRIORITY       Taxes and Certain Other Debts Owed to Governmental Units




                                                         HUSBAND, WIFE, JOINT,




                                                                                                                      UNLIQUIDATED
                                                                                                                       CONTINGENT
                                                           OR COMMUNITY
                                              CODEBTOR
             CREDITOR'S NAME,                                                      DATE CLAIM WAS INCURRED                           AMOUNT         AMOUNT      AMOUNT




                                                                                                                        DISPUTED
              MAILING ADDRESS                                                       AND CONSIDERATION FOR                              OF         ENTITLED TO     NOT
            INCLUDING ZIP CODE,                                                             CLAIM                                     CLAIM        PRIORITY   ENTITLED TO
          AND ACCOUNT NUMBER                                                                                                                                  PRIORITY, IF
           (See instructions above.)                                                                                                                              ANY


ACCT #:                                                                          DATE INCURRED:   4/15/2009
                                                                                 CONSIDERATION:
IRS/SPS                                                                          Taxes                                               $20,000.00      $20,000.00        $0.00
Centralized Insolvency Operations                                                REMARKS:
POB 7346                                                       C
Philidelphia, PA 19114-0326




Sheet no. __________
               1       of __________
                               2       continuation sheets                                  Subtotals (Totals of this page) >        $20,000.00      $20,000.00        $0.00
attached to Schedule of Creditors Holding Priority Claims                               Total >
                                       (Use only on last page of the completed Schedule E.
                                       Report also on the Summary of Schedules.)

                                                                                          Totals >
                                       (Use only on last page of the completed Schedule E.
                                       If applicable, report also on the Statistical Summary
                                       of Certain Liabilities and Related Data.)
              Case 15-60690              Doc 1                                   Filed 10/21/15 Entered 10/21/15 15:36:39                           Desc Main
                                                                                  Document Page 20 of 47
B6E (Official Form 6E) (04/13) - Cont.
In re Richard L Witt                                                                                                      Case No.
      Caroline R Witt                                                                                                                             (If Known)


                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                    TYPE OF PRIORITY       Administrative allowances




                                                         HUSBAND, WIFE, JOINT,




                                                                                                                      UNLIQUIDATED
                                                                                                                       CONTINGENT
                                                           OR COMMUNITY
                                              CODEBTOR
             CREDITOR'S NAME,                                                      DATE CLAIM WAS INCURRED                           AMOUNT         AMOUNT      AMOUNT




                                                                                                                        DISPUTED
              MAILING ADDRESS                                                       AND CONSIDERATION FOR                              OF         ENTITLED TO     NOT
            INCLUDING ZIP CODE,                                                             CLAIM                                     CLAIM        PRIORITY   ENTITLED TO
          AND ACCOUNT NUMBER                                                                                                                                  PRIORITY, IF
           (See instructions above.)                                                                                                                              ANY


ACCT #:                                                                          DATE INCURRED:   10/19/2015
                                                                                 CONSIDERATION:
Campbell Law Firm, PC                                                            Attorney Fees                                        $3,508.00       $3,508.00        $0.00
228 West Broad Street                                                            REMARKS:
Mineola, TX 75773                                              C




Sheet no. __________
               2       of __________
                               2       continuation sheets                                  Subtotals (Totals of this page) >         $3,508.00       $3,508.00        $0.00
attached to Schedule of Creditors Holding Priority Claims                               Total >                                      $23,508.00
                                       (Use only on last page of the completed Schedule E.
                                       Report also on the Summary of Schedules.)

                                                                                          Totals >                                                   $23,508.00        $0.00
                                       (Use only on last page of the completed Schedule E.
                                       If applicable, report also on the Statistical Summary
                                       of Certain Liabilities and Related Data.)
            Case 15-60690            Doc 1      Filed 10/21/15 Entered 10/21/15 15:36:39                                                Desc Main
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B6F (Official Form 6F) (12/07)
  In re Richard L Witt                                                                                              Case No.
           Caroline R Witt                                                                                                     (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                              HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                     DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                     UNLIQUIDATED
                MAILING ADDRESS                                                                       INCURRED AND                                    CLAIM




                                                                                                                                      CONTINGENT
                                                                OR COMMUNITY
                                                   CODEBTOR




                                                                                                                                       DISPUTED
              INCLUDING ZIP CODE,                                                                  CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                            CLAIM.
             (See instructions above.)                                                           IF CLAIM IS SUBJECT TO
                                                                                                    SETOFF, SO STATE.


ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
Amalgamated Financial Group                                                           Collecting for - FedEx                                          Notice Only
105 White Oak Lane                                                                    REMARKS:
                                                                C
Old Bridge, NJ 08857



ACCT #: 000054697637981                                                               DATE INCURRED:   07/24/2007
                                                                                      CONSIDERATION:
BARCLAYS BANK DELAWARE                                                                Credit Card                                                       $1,803.00
125 S WEST ST                                                                         REMARKS:
                                                                C
WILMINGTON, DE 19801



ACCT #: 4313512061602700                                                              DATE INCURRED:   09/28/1995
                                                                                      CONSIDERATION:
BK OF AMER                                                                            Credit Card                                                        $110.00
PO BOX 982235                                                                         REMARKS:
                                                                C
EL PASO, TX 79998



ACCT #: 5458001575206507                                                              DATE INCURRED:   04/24/2008
                                                                                      CONSIDERATION:
CAPITAL ONE BANK USA N                                                                Credit Card                                                       $4,537.00
15000 CAPITAL ONE DR                                                                  REMARKS:
                                                                C
RICHMOND, VA 23238



ACCT #: 5458001575153741                                                              DATE INCURRED:   04/20/2008
                                                                                      CONSIDERATION:
CAPITAL ONE BANK USA N                                                                Credit Card                                                       $4,487.00
15000 CAPITAL ONE DR                                                                  REMARKS:
                                                                C
RICHMOND, VA 23238



ACCT #: 4862368104860481                                                              DATE INCURRED:   05/27/2004
                                                                                      CONSIDERATION:
CAPITAL ONE BANK USA N                                                                Credit Card                                                       $4,188.00
15000 CAPITAL ONE DR                                                                  REMARKS:
                                                                C
RICHMOND, VA 23238



                                                                                                                                 Subtotal >             $15,125.00

                                                                                                                        Total >
                                                                          (Use only on last page of the completed Schedule F.)
________________continuation
       3                     sheets attached                  (Report also on Summary of Schedules and, if applicable, on the
                                                                  Statistical Summary of Certain Liabilities and Related Data.)
             Case 15-60690             Doc 1        Filed 10/21/15 Entered 10/21/15 15:36:39                                                Desc Main
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B6F (Official Form 6F) (12/07) - Cont.
  In re Richard L Witt                                                                                                  Case No.
           Caroline R Witt                                                                                                         (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 4862368689860377                                                                  DATE INCURRED:   06/29/2002
                                                                                          CONSIDERATION:
CAPITAL ONE BANK USA N                                                                    Credit Card                                                      $2,939.00
15000 CAPITAL ONE DR                                                                      REMARKS:
                                                                    C
RICHMOND, VA 23238



ACCT #: 5178059341461219                                                                  DATE INCURRED:   04/21/2003
                                                                                          CONSIDERATION:
CAPITAL ONE BANK USA N                                                                    Credit Card                                                      $2,064.00
15000 CAPITAL ONE DR                                                                      REMARKS:
                                                                    C
RICHMOND, VA 23238



ACCT #: 5178052329607408                                                                  DATE INCURRED:   07/02/2003
                                                                                          CONSIDERATION:
CAPITAL ONE BANK USA N                                                                    Credit Card                                                        $477.00
15000 CAPITAL ONE DR                                                                      REMARKS:
                                                                    C
RICHMOND, VA 23238



ACCT #: 4147097748927730                                                                  DATE INCURRED:   05/29/2001
                                                                                          CONSIDERATION:
CAPITAL ONE BANK USA N                                                                    Credit Card                                                        $446.00
15000 CAPITAL ONE DR                                                                      REMARKS:
                                                                    C
RICHMOND, VA 23238



ACCT #: 6035320205808924                                                                  DATE INCURRED:   03/31/2006
                                                                                          CONSIDERATION:
CBNA                                                                                      Charge Account                                                   $2,208.00
PO BOX 6497                                                                               REMARKS:
                                                                    C
SIOUX FALLS, SD 57117



ACCT #: 5049948083717837                                                                  DATE INCURRED:   10/21/1999
                                                                                          CONSIDERATION:
CBNA                                                                                      Charge Account                                                   $1,439.00
PO BOX 6189                                                                               REMARKS:
                                                                    C
SIOUX FALLS, SD 57117



Sheet no. __________
              1        of __________
                               3     continuation sheets attached to                                                                 Subtotal >             $9,573.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 15-60690             Doc 1        Filed 10/21/15 Entered 10/21/15 15:36:39                                                Desc Main
                                                     Document Page 23 of 47
B6F (Official Form 6F) (12/07) - Cont.
  In re Richard L Witt                                                                                                  Case No.
           Caroline R Witt                                                                                                         (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:   4/2010
                                                                                          CONSIDERATION:
Chase American Advantage                                                                  Credit Card                                                       $1,975.29
P. O. Box 15298                                                                           REMARKS:
                                                                    C
Wilmington, DE 19850-5298



ACCT #: 4185863786609933                                                                  DATE INCURRED:   05/10/2007
                                                                                          CONSIDERATION:
CHASE CARD                                                                                Credit Card                                                       $2,418.00
PO BOX 15298                                                                              REMARKS:
                                                                    C
WILMINGTON, DE 19850



ACCT #: 4185861447756523                                                                  DATE INCURRED:   04/16/2007
                                                                                          CONSIDERATION:
CHASE CARD                                                                                Credit Card                                                       $1,388.00
PO BOX 15298                                                                              REMARKS:
                                                                    C
WILMINGTON, DE 19850



ACCT #: 5424181225860480                                                                  DATE INCURRED:   03/13/2014
                                                                                          CONSIDERATION:
CITI                                                                                      Credit Card                                                       $8,366.00
PO BOX 6241                                                                               REMARKS:
                                                                    C
SIOUX FALLS, SD 57117



ACCT #: 5424181063431899                                                                  DATE INCURRED:   03/13/2014
                                                                                          CONSIDERATION:
CITI                                                                                      Credit Card                                                       $4,905.00
PO BOX 6241                                                                               REMARKS:
                                                                    C
SIOUX FALLS, SD 57117



ACCT #: 6011008883529114                                                                  DATE INCURRED:   07/26/1995
                                                                                          CONSIDERATION:
DISCOVER FIN SVCS LLC                                                                     Credit Card                                                      $12,225.00
PO BOX 15316                                                                              REMARKS:
                                                                    C
WILMINGTON, DE 19850



Sheet no. __________
              2        of __________
                               3     continuation sheets attached to                                                                 Subtotal >             $31,277.29
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 15-60690             Doc 1        Filed 10/21/15 Entered 10/21/15 15:36:39                                                Desc Main
                                                     Document Page 24 of 47
B6F (Official Form 6F) (12/07) - Cont.
  In re Richard L Witt                                                                                                  Case No.
           Caroline R Witt                                                                                                         (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:   2/2015
                                                                                          CONSIDERATION:
Fed Ex                                                                                    Goods or Services Rendered                                       $2,558.19
Revenue Services                                                                          REMARKS:
                                                                    C
3956 Airways,Module G, 4ht Floor
Memphis, TN 38116

ACCT #: 5049941049519256                                                                  DATE INCURRED:   03/15/2007
                                                                                          CONSIDERATION:
SEARS/CBNA                                                                                Charge Account                                                   $2,986.00
PO BOX 6282                                                                               REMARKS:
                                                                    C
SIOUX FALLS, SD 57117



ACCT #: 6008894205338363                                                                  DATE INCURRED:   10/15/1984
                                                                                          CONSIDERATION:
SYNCB/JCP                                                                                 Charge Account                                                   $3,777.00
PO BOX 965007                                                                             REMARKS:
                                                                    C
ORLANDO, FL 32896



ACCT #:                                                                                   DATE INCURRED:   3/2012
                                                                                          CONSIDERATION:
UPS                                                                                       Credit Account                                                   $1,793.73
P.O. Box 7247                                                                             REMARKS:
                                                                    C
Philadelphia, PA 19170




Sheet no. __________
              3        of __________
                               3     continuation sheets attached to                                                                 Subtotal >            $11,114.92
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                        $67,090.21
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 15-60690           Doc 1       Filed 10/21/15 Entered 10/21/15 15:36:39                        Desc Main
                                                  Document Page 25 of 47
B6G (Official Form 6G) (12/07)
   In re Richard L Witt                                                                 Case No.
         Caroline R Witt                                                                                (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


    Check this box if debtor has no executory contracts or unexpired leases.

                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.
              Case 15-60690               Doc 1        Filed 10/21/15 Entered 10/21/15 15:36:39                               Desc Main
                                                        Document Page 26 of 47
B6H (Official Form 6H) (12/07)
In re Richard L Witt                                                                               Case No.
      Caroline R Witt                                                                                                      (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR
             Case 15-60690               Doc 1       Filed 10/21/15 Entered 10/21/15 15:36:39                                     Desc Main
                                                      Document Page 27 of 47
 Fill in this information to identify your case:
     Debtor 1              Richard              L                      Witt
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2              Caroline             R                      Witt                                     An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing post-petition
     United States Bankruptcy Court for the:   EASTERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY

Official Form B 6I
Schedule I: Your Income                                                                                                                              12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Tatanka Traditions (self)                          Tatanka Traditions (self)

      Occupation may include            Employer's address     325 PR 6602                                        325 PR 6602
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Mineola                      TX      75773         Mineola                TX      75773
                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?        26 years                                          26 years


 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                     $0.00                   $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.

3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.                  $0.00                   $0.00




Official Form B 6I                                            Schedule I: Your Income                                                                page 1
             Case 15-60690                          Doc 1             Filed 10/21/15 Entered 10/21/15 15:36:39                                                    Desc Main
                                                                       Document Page 28 of 47
Debtor 1 Richard                                L                                  Witt                                               Case number (if known)
            First Name                          Middle Name                        Last Name


                                                                                                                        For Debtor 1                  For Debtor 2 or
                                                                                                                                                      non-filing spouse

     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                       $0.00                $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                          5a.                  $0.00                     $0.00
     5b. Mandatory contributions for retirement plans                                                           5b.                  $0.00                     $0.00
     5c. Voluntary contributions for retirement plans                                                           5c.                  $0.00                     $0.00
     5d. Required repayments of retirement fund loans                                                           5d.                  $0.00                     $0.00
     5e. Insurance                                                                                              5e.                  $0.00                     $0.00
     5f. Domestic support obligations                                                                           5f.                  $0.00                     $0.00
     5g. Union dues                                                                                             5g.                  $0.00                     $0.00
     5h. Other deductions.
          Specify:                                                                                              5h. +                $0.00                     $0.00
6.   Add the payroll deductions.                    Add lines 5a + 5b + 5c + 5d + 5e + 5f +                     6.                   $0.00                     $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.              7.                   $0.00                     $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                   8a.           $5,133.60                        $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.

     8b. Interest and dividends                                                                                 8b.                  $0.00                     $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                            8c.                  $0.00                     $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.

     8d. Unemployment compensation                                                                              8d.                  $0.00                     $0.00
     8e. Social Security                                                                                        8e.                  $0.00                     $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                               8f.                  $0.00                     $0.00
     8g. Pension or retirement income                                                                           8g.                  $0.00                     $0.00
     8h. Other monthly income.
         Specify:                                                                                               8h. +                $0.00                     $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                     9.            $5,133.60                        $0.00

10. Calculate monthly income. Add line 7 + line 9.                                                              10.           $5,133.60           +            $0.00      =       $5,133.60
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                     11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                     12.             $5,133.60
    income. Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and
    Related Data, if it applies.                                                                                                                                              Combined
                                                                                                                                                                              monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
            Yes. Explain:




Official Form B 6I                                                                  Schedule I: Your Income                                                                            page 2
           Case 15-60690                Doc 1     Filed 10/21/15 Entered 10/21/15 15:36:39                Desc Main
                                                   Document Page 29 of 47
Debtor 1 Richard                    L                  Witt                      Case number (if known)
          First Name                Middle Name        Last Name


8a. Attached Statement (Debtor 1)

                                                        Tatanka Traditions

Gross Monthly Income:                                                                                             $5,938.60

Expense                                                   Category                              Amount
supplies                                                  Material                             $250.00
telephone                                                 Utilities                             $55.00
office supplies                                           Office Supplies                      $350.00
advertising                                               Marketing                            $150.00
Total Monthly Expenses                                                                                                $805.00

Net Monthly Income:                                                                                               $5,133.60




Official Form B 6I                                     Schedule I: Your Income                                         page 3
             Case 15-60690              Doc 1         Filed 10/21/15 Entered 10/21/15 15:36:39                                  Desc Main
                                                       Document Page 30 of 47
 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Richard                L                      Witt                                An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing post-petition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Caroline               R                      Witt
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    EASTERN DISTRICT OF TEXAS                                      MM / DD / YYYY
     Case number                                                                                               A separate filing for Debtor 2 because
     (if known)                                                                                                Debtor 2 maintains a separate household


Official Form B 6J
Schedule J: Your Expenses                                                                                                                         12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                                                                           Yes
      Do not state the
                                                                                                                                           No
      dependents' names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                      $970.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.                     $175.00
      4b. Property, homeowner's, or renter's insurance                                                               4b.                     $155.00

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                     $110.00

      4d. Homeowner's association or condominium dues                                                                4d.                      $33.33



 Official Form B 6J                                             Schedule J: Your Expenses                                                         page 1
            Case 15-60690                 Doc 1    Filed 10/21/15 Entered 10/21/15 15:36:39                      Desc Main
                                                    Document Page 31 of 47
Debtor 1 Richard                    L                       Witt                        Case number (if known)
            First Name              Middle Name             Last Name


                                                                                                           Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                      5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                              6a.                   $275.00
     6b. Water, sewer, garbage collection                                                            6b.                     $95.00
     6c. Telephone, cell phone, Internet, satellite, and                                             6c.                   $175.00
         cable services
     6d. Other. Specify:                                                                             6d.

7.   Food and housekeeping supplies                                                                  7.                    $450.00
8.   Childcare and children's education costs                                                        8.

9.   Clothing, laundry, and dry cleaning                                                             9.                    $110.00
10. Personal care products and services                                                              10.                   $153.00
11. Medical and dental expenses                                                                      11.                   $200.00
12. Transportation. Include gas, maintenance, bus or train                                           12.                   $300.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                    13.                   $100.00
    magazines, and books
14. Charitable contributions and religious donations                                                 14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                                          15a.

     15b.    Health insurance                                                                        15b.

     15c.    Vehicle insurance                                                                       15c.                    $77.00
     15d.    Other insurance. Specify:     anticipated income taxes                                  15d.                  $200.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify: sales and use tax                                                                       16.                     $55.00
17. Installment or lease payments:

     17a.    Car payments for Vehicle 1                                                              17a.

     17b.    Car payments for Vehicle 2                                                              17b.

     17c.    Other. Specify: car maintenance                                                         17c.                  $100.00
     17d.    Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                    18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form B 6I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                         19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.    Mortgages on other property                                                             20a.

     20b.    Real estate taxes                                                                       20b.

     20c.    Property, homeowner's, or renter's insurance                                            20c.

     20d.    Maintenance, repair, and upkeep expenses                                                20d.

     20e.    Homeowner's association or condominium dues                                             20e.


 Official Form B 6J                                         Schedule J: Your Expenses                                         page 2
           Case 15-60690              Doc 1      Filed 10/21/15 Entered 10/21/15 15:36:39                               Desc Main
                                                  Document Page 32 of 47
Debtor 1 Richard                  L                        Witt                               Case number (if known)
           First Name             Middle Name              Last Name


21. Other. Specify:                                                                                          21.    +
22. Your monthly expenses. Add lines 4 through 21.
    The result is your monthly expenses.                                                                     22.               $3,733.33
23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.              $5,133.60
    23b.    Copy your monthly expenses from line 22 above.                                                   23b.   –          $3,733.33
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.              $1,400.27

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                 None.




 Official Form B 6J                                       Schedule J: Your Expenses                                                 page 3
             Case 15-60690             Doc 1        Filed 10/21/15 Entered 10/21/15 15:36:39                 Desc Main
                                                     Document Page 33 of 47
B 6 Summary (Official Form 6 - Summary) (12/14)
                                             UNITED STATES BANKRUPTCY COURT
                                                 EASTERN DISTRICT OF TEXAS
                                                      TYLER DIVISION
   In re Richard L Witt                                                              Case No.
         Caroline R Witt
                                                                                     Chapter      13



                                                        SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                                Yes      1                $200,000.00


 B - Personal Property                            Yes      5                 $42,721.00


 C - Property Claimed                             Yes      3
     as Exempt
 D - Creditors Holding                            Yes      1                                        $112,319.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                              Yes      3                                           $23,508.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                  Yes      4                                           $67,090.21
     Nonpriority Claims
 G - Executory Contracts and                      Yes      1
    Unexpired Leases

 H - Codebtors                                    Yes      1


 I - Current Income of                            Yes      3                                                                 $5,133.60
     Individual Debtor(s)

 J - Current Expenditures of                      Yes      3                                                                 $3,733.33
    Individual Debtor(s)

                                             TOTAL         25               $242,721.00             $202,917.21
             Case 15-60690            Doc 1       Filed 10/21/15 Entered 10/21/15 15:36:39                    Desc Main
                                                   Document Page 34 of 47
B 6 Summary (Official Form 6 - Summary) (12/14)
                                             UNITED STATES BANKRUPTCY COURT
                                                 EASTERN DISTRICT OF TEXAS
                                                      TYLER DIVISION
   In re Richard L Witt                                                               Case No.
         Caroline R Witt
                                                                                      Chapter       13



     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.

    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
    information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount
 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                    $20,000.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was
                                                                                   $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                        $0.00

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                   $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar
                                                                                   $0.00
 Obligations (from Schedule F)

                                                            TOTAL            $20,000.00

State the following:
 Average Income (from Schedule I, Line 12)                                     $5,133.60

 Average Expenses (from Schedule J, Line 22)                                   $3,733.33

 Current Monthly Income (from Form 22A-1 Line 11; OR, Form
 22B Line 14; OR, Form 22C-1 Line 14)                                          $1,783.77

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                                  $0.00

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                     $23,508.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                $0.00

 4. Total from Schedule F                                                                           $67,090.21

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                       $67,090.21
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                                                  Document Page 35 of 47
B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Richard L Witt                                                                   Case No.
      Caroline R Witt                                                                                        (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                 27
sheets, and that they are true and correct to the best of my knowledge, information, and belief.


Date 10/21/2015                                              Signature    /s/ Richard L Witt
                                                                         Richard L Witt

Date 10/21/2015                                              Signature     /s/ Caroline R Witt
                                                                          Caroline R Witt
                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
              Case 15-60690                Doc 1        Filed 10/21/15 Entered 10/21/15 15:36:39                                Desc Main
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B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                     EASTERN DISTRICT OF TEXAS
                                                           TYLER DIVISION
   In re:   Richard L Witt                                                                           Case No.
            Caroline R Witt                                                                                                  (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
       including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the TWO YEARS immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        $49,066.25                  $49,066.25 - Debtor 2015 YTD income from operation of business.

        $22,258.00                  $22,258.00 - Debtor 2014 income from operation of business.

        $27,087.00                  $27,087.00 - Debtor 2013 income from opertion of business.

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
       TWO YEARS immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)


       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
       debts to any creditor made within 90 DAYS immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                         DATES OF
        NAME AND ADDRESS OF CREDITOR                                     PAYMENTS                AMOUNT PAID             AMOUNT STILL OWING
        CAP ONE NA                                                       7/2015, 8/2015          $1,938.66               $86,478.00
        3905 N DALLAS PKWY
        PLANO, TX 75093

        US BANK                                                          monthly                 $1,181.91               $23,341.00
        PO BOX 5227
        CINCINNATI, OH 45201

        DISCOVER FIN SVCS LLC                                            monthly                 $750.00                 $12,225.00
        PO BOX 15316
        WILMINGTON, DE 19850

None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 DAYS immediately
       preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

       * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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B7 (Official Form 7) (04/13)                   UNITED STATES BANKRUPTCY COURT
                                                    EASTERN DISTRICT OF TEXAS
                                                          TYLER DIVISION
   In re:   Richard L Witt                                                                        Case No.
            Caroline R Witt                                                                                               (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 1


None
       c. All debtors: List all payments made within ONE YEAR immediately preceding the commencement of this case to or for the benefit of creditors
       who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within ONE YEAR immediately preceding the filing of this
       bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
       to the seller, within ONE YEAR immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 DAYS immediately preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within ONE YEAR immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within ONE YEAR immediately preceding the commencement of this case except ordinary and usual
       gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within ONE YEAR immediately preceding the commencement of this case OR SINCE THE
       COMMENCEMENT OF THIS CASE. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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B7 (Official Form 7) (04/13)                   UNITED STATES BANKRUPTCY COURT
                                                    EASTERN DISTRICT OF TEXAS
                                                          TYLER DIVISION
   In re:   Richard L Witt                                                                         Case No.
            Caroline R Witt                                                                                                (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 2



       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within ONE YEAR immediately preceding the
       commencement of this case.

                                                                      DATE OF PAYMENT,
                                                                      NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                     OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        Campbell Law Firm, PC                                         10/19/2015                       $492.00
        228 West Broad Street
        Mineola, TX 75773

       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
       either absolutely or as security within TWO YEARS immediately preceding the commencement of this case. (Married debtors filing under chapter
       12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       b. List all property transferred by the debtor within TEN YEARS immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.



       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
       transferred within ONE YEAR immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
                                                                      TYPE OF ACCOUNT, LAST FOUR
                                                                      DIGITS OF ACCOUNT NUMBER,                 AMOUNT AND DATE OF
        NAME AND ADDRESS OF INSTITUTION                               AND AMOUNT OF FINAL BALANCE               SALE OR CLOSING
        Capital One                                                   business checking account                 9/2015
                                                                                                                $25.00

       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 DAYS preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.
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B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                     EASTERN DISTRICT OF TEXAS
                                                           TYLER DIVISION
   In re:   Richard L Witt                                                                          Case No.
            Caroline R Witt                                                                                                (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



       15. Prior address of debtor
None
       If the debtor has moved within THREE YEARS immediately preceding the commencement of this case, list all premises which the debtor occupied
       during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
       Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within EIGHT YEARS immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.


       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
       potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
       Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
       or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.
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B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                     EASTERN DISTRICT OF TEXAS
                                                           TYLER DIVISION
   In re:   Richard L Witt                                                                           Case No.
            Caroline R Witt                                                                                                   (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 4



       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within SIX YEARS immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within SIX YEARS immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within SIX YEARS
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within SIX YEARS
       immediately preceding the commencement of this case.

        NAME, ADDRESS, AND LAST FOUR DIGITS OF
        SOCIAL-SECURITY OR OTHER INDIVIDUAL                                                                          BEGINNING AND ENDING
        TAXPAYER-I.D. NO. (ITIN) / COMPLETE EIN                       NATURE OF BUSINESS                             DATES

        Tatanka Traditions                                            retail/manufacturing                           1989-present
        325 PR 6602
        Mineola, Texas 75773

None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.



       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within SIX YEARS immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner
       of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor,
       or self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement ONLY if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within TWO YEARS immediately preceding the filing of this bankruptcy case kept or supervised the
       keeping of books of account and records of the debtor.

        NAME AND ADDRESS                                                DATES SERVICES RENDERED
        Caroline Witt                                                   1989-present
        325 PR 6602
        Mineola, Texas 75773

None
       b. List all firms or individuals who within TWO YEARS immediately preceding the filing of this bankruptcy case have audited the books of account
       and records, or prepared a financial statement of the debtor.

        NAME AND ADDRESS                                                DATES SERVICES RENDERED
        Caroline Witt                                                   1989-present
        325 PR 6602
        Mineola, Texas 75773
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                                                           TYLER DIVISION
   In re:   Richard L Witt                                                                            Case No.
            Caroline R Witt                                                                                                    (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 5


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
       debtor. If any of the books of account and records are not available, explain.

        NAME                                                            ADDRESS
        Caroline Witt                                                   325 PR 6602
                                                                        Mineola, Texas 75773

None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
       the debtor within TWO YEARS immediately preceding the commencement of this case.



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
       dollar amount and basis of each inventory.

                                                                                                      DOLLAR AMOUNT OF INVENTORY
        DATE OF INVENTORY            INVENTORY SUPERVISOR                                             (Specify cost, market or other basis)
        1/2015                       Caroline Witt                                                    $400.00 - cost

        1/2014                       Caroline Witt                                                    $400.00 - cost

None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.



None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
       holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within ONE YEAR immediately preceding the
       commencement of this case.


None
       b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated within ONE YEAR immediately
       preceding the commencement of this case.



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
       bonuses, loans, stock redemptions, options exercised and any other perquisite during ONE YEAR immediately preceding the commencement of
       this case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
       purposes of which the debtor has been a member at any time within SIX YEARS immediately preceding the commencement of the case.
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B7 (Official Form 7) (04/13)                   UNITED STATES BANKRUPTCY COURT
                                                    EASTERN DISTRICT OF TEXAS
                                                          TYLER DIVISION
   In re:   Richard L Witt                                                                         Case No.
            Caroline R Witt                                                                                               (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 6



       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
       has been responsible for contributing at any time within SIX YEARS immediately preceding the commencement of the case.



[If completed by an individual or individual and spouse]
I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

Date 10/21/2015                                                       Signature          /s/ Richard L Witt
                                                                      of Debtor          Richard L Witt

Date 10/21/2015                                                       Signature       /s/ Caroline R Witt
                                                                      of Joint Debtor Caroline R Witt
                                                                      (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
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                                          EASTERN DISTRICT OF TEXAS
                                               TYLER DIVISION

  IN RE:     Richard L Witt                                                       CASE NO.
             Caroline R Witt
                                                                                 CHAPTER       13

                                                  Certificate of Service


The undersigned certifies that a copy of the following was served upon the following parties: The Trustee and all parties on
the mailing matrix in accordance with applicable rules of procedure on the date listed below.

Date:      10/21/2015                                           /s/ Bradley S. Campbell
                                                                Bradley S. Campbell
                                                                Attorney for the Debtor(s)


Date:      10/21/2015                                           /s/ Richard L Witt
                                                                Richard L Witt
                                                                Debtor


Date:      10/21/2015                                           /s/ Caroline R Witt
                                                                Caroline R Witt
                                                                Joint Debtor


Amalgamated Financial Group                  CAPITAL ONE BANK USA N                          CAPITAL ONE BANK USA N
105 White Oak Lane                           5458001575206507                                5178059341461219
Old Bridge, NJ 08857                         15000 CAPITAL ONE DR                            15000 CAPITAL ONE DR
                                             RICHMOND, VA 23238                              RICHMOND, VA 23238



BARCLAYS BANK DELAWARE                       CAPITAL ONE BANK USA N                          CAPITAL ONE BANK USA N
000054697637981                              5458001575153741                                5178052329607408
125 S WEST ST                                15000 CAPITAL ONE DR                            15000 CAPITAL ONE DR
WILMINGTON, DE 19801                         RICHMOND, VA 23238                              RICHMOND, VA 23238



BK OF AMER                                   CAPITAL ONE BANK USA N                          CAPITAL ONE BANK USA N
4313512061602700                             4862368104860481                                4147097748927730
PO BOX 982235                                15000 CAPITAL ONE DR                            15000 CAPITAL ONE DR
EL PASO, TX 79998                            RICHMOND, VA 23238                              RICHMOND, VA 23238



CAP ONE NA                                   CAPITAL ONE BANK USA N                          Caroline R Witt
3847700407507                                4862368689860377                                325 PR 6602
3905 N DALLAS PKWY                           15000 CAPITAL ONE DR                            Mineola, Texas 75773
PLANO, TX 75093                              RICHMOND, VA 23238
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                               UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF TEXAS
                                        TYLER DIVISION

  IN RE:   Richard L Witt                                                CASE NO.
           Caroline R Witt
                                                                        CHAPTER      13

                                         Certificate of Service
                                         (Continuation Sheet #1)

CBNA                                 DISCOVER FIN SVCS LLC                          US BANK
6035320205808924                     6011008883529114                               514206668
PO BOX 6497                          PO BOX 15316                                   PO BOX 5227
SIOUX FALLS, SD 57117                WILMINGTON, DE 19850                           CINCINNATI, OH 45201



CBNA                                 Fed Ex
5049948083717837                     Revenue Services
PO BOX 6189                          3956 Airways,Module G, 4ht Floor
SIOUX FALLS, SD 57117                Memphis, TN 38116



Chase American Advantage             IRS/SPS
P. O. Box 15298                      Centralized Insolvency Operations
Wilmington, DE 19850-5298            POB 7346
                                     Philidelphia, PA 19114-0326



CHASE CARD                           Richard L Witt
4185863786609933                     325 PR 6602
PO BOX 15298                         Mineola, Texas 75773
WILMINGTON, DE 19850



CHASE CARD                           SEARS/CBNA
4185861447756523                     5049941049519256
PO BOX 15298                         PO BOX 6282
WILMINGTON, DE 19850                 SIOUX FALLS, SD 57117



CITI                                 SYNCB/JCP
5424181225860480                     6008894205338363
PO BOX 6241                          PO BOX 965007
SIOUX FALLS, SD 57117                ORLANDO, FL 32896



CITI                                 UPS
5424181063431899                     P.O. Box 7247
PO BOX 6241                          Philadelphia, PA 19170
SIOUX FALLS, SD 57117
            Case 15-60690                Doc 1       Filed 10/21/15 Entered 10/21/15 15:36:39                           Desc Main
                                                      Document Page 45 of 47
 Fill in this information to identify your case:                                             Check as directed in lines 17 and 21:

 Debtor 1             Richard                L                   Witt                        According to the calculations required by this
                      First Name             Middle Name         Last Name                   Statement:

 Debtor 2            Caroline                R                   Witt                           1. Disposable income is not determined
 (Spouse, if filing) First Name              Middle Name         Last Name                         under 11 U.S.C. § 1325(b)(3).
                                                                                                2. Disposable income is determined
 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS                                 under 11 U.S.C. § 1325(b)(3).

 Case number                                                                                    3. The commitment period is 3 years.
 (if known)                                                                                     4. The commitment period is 5 years.


                                                                                                 Check if this is an amended filing
Official Form 22C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                          12/14
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On top of any additional pages, write your name and case number (if known).


 Part 1:       Calculate Your Average Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married. Fill out both Columns A and B, lines 2-11.

     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                           $0.00                $0.00
     (before all payroll deductions).
3.   Alimony and maintenance payments. Do not include payments from a spouse                      $0.00                $0.00
     if Column B is filled in.
4.   All amounts from any source which are regularly paid for household                           $0.00                $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.

5.   Net income from operating a business, profession, or farm
     Gross receipts (before all deductions)                         $2,052.18
     Ordinary and necessary operating expenses               –          $268.41
                                                                                  Copy
     Net monthly income from a business, profession, or farm        $1,783.77 here           $1,783.77                 $0.00


6.   Net income from rental and other real property
     Gross receipts (before all deductions)                               $0.00
     Ordinary and necessary operating expenses               –            $0.00
                                                                                  Copy
     Net monthly income from rental or other real property                $0.00 here              $0.00                $0.00


7.   Interest, dividends, and royalties                                                           $0.00                $0.00


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Debtor 1         Richard                           L                                 Witt                                               Case number (if known)
                 First Name                        Middle Name                       Last Name


                                                                                                                                             Column A                   Column B
                                                                                                                                             Debtor 1                   Debtor 2 or
                                                                                                                                                                        non-filing spouse

8.    Unemployment compensation                                                                                                                         $0.00                           $0.00
      Do not enter the amount if you contend that the amount received was a
      benefit under the Social Security Act. Instead, list it here: ...............................................
                                                                                                               $0.00
          For you............................................................................................................................
                                                                                                          $0.00
          For your spouse..............................................................................................................
9.    Pension or retirement income. Do not include any amount received that                                                                             $0.00                           $0.00
      was a benefit under the Social Security Act.
10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total on line 10c.

          10a.

          10b.

          10c. Total amounts from separate pages, if any.                                                                             +                               +
11. Calculate your total average monthly income.
    Add lines 2 through 10 for each column.                                                                                                     $1,783.77            +                  $0.00         =         $1,783.77
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                                                        Total average
                                                                                                                                                                                                        monthly income

  Part 2:           Determine How to Measure Your Deductions from Income
                                                                                                                                                                         $1,783.77
12. Copy your total average monthly income from line 11. ..............................................................................................................................................
13. Calculate the marital adjustment. Check one:
             You are not married. Fill in 0 in line 13d.
             You are married and your spouse is filing with you. Fill in 0 in line 13d.
             You are married and your spouse is not filing with you.
             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses
             of you or your dependents, such as payment of the spouse's tax liability or the spouse's support of someone other
             than you or your dependents.

             In lines 13a-c, specify the basis for excluding this income and the amount of income devoted to each purpose. If
             necessary, list additional adjustments on a separate page.

             If this adjustment does not apply, enter 0 on line 13d.

             13a.
             13b.
             13c.                                                                                                     +
                                                                                                                                          $0.00
             13d. Total......................................................................................................................                Copy
                                                                                                                                                                .........................
                                                                                                                                                                    here.                 13d.        –                 $0.00


14. Your current monthly income. Subtract line 13d from line 12.                                                                                                                                14.             $1,783.77

15. Calculate your current monthly income for the year. Follow these steps:

      15a.     Copy line 14 here                                                                                                                                                                                $1,783.77
                                                   ...................................................................................................................................................................................
                                                                                                                                                                                                15a.

               Multiply line 15a by 12 (the number of months in a year).                                                                                                                                   X         12

      15b.     The result is your current monthly income for the year for this part of the form.                                                                                                15b.           $21,405.24




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Debtor 1      Richard                         L                              Witt                                             Case number (if known)
              First Name                      Middle Name                    Last Name


16. Calculate the median family income that applies to you. Follow these steps:

    16a.    Fill in the state in which you live.                                                     Texas
    16b.    Fill in the number of people in your household.                                               2

    16c.                                                                                                                                                             $58,666.00
            Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                       16c.
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?

    17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined
                   under 11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 22C-2).
    17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                   11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 22C-2). On line 39 of that
                   form, copy your current monthly income from line 14 above.


 Part 3:        Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11.                                                                                                                                              $1,783.77
                                                                                         ..............................................................................................................................................
                                                                                                                                                                                      18.

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
    that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's
    income, copy the amount from line 13d.

    If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                19a.    –                 $0.00

    Subtract line 19a from line 18.                                                                                                                                                 19b.              $1,783.77

20. Calculate your current monthly income for the year. Follow these steps:

    20a.                                                                                                                                                                                             $1,783.77
            Copy line 19b ...................................................................................................................................................................................
                                                                                                                                                                                     20a.

            Multiply by 12 (the number of months in a year).                                                                                                                                     X         12

    20b.    The result is your current monthly income for the year for this part of the form.                                                                                         20b.           $21,405.24

    20c.                                                                                                                                                 $58,666.00
            Copy the median family income for your state and size of household from line 16c. .........................................................................................................
                                                                                                                                           20c.

21. How do the lines compare?

           Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 3, The commitment period is 3 years. Go to Part 4.
           Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1
           of this form, check box 4, The commitment period is 5 years. Go to Part 4.


 Part 4:        Sign Below

    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


    X      /s/ Richard L Witt                                                                              X       /s/ Caroline R Witt
           Richard L Witt                                                                                          Caroline R Witt

        Date 10/21/2015                                                                                          Date 10/21/2015
             MM / DD / YYYY                                                                                           MM / DD / YYYY

    If you checked 17a, do NOT fill out or file Form 22C-2.

    If you checked 17b, fill out Form 22C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




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